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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Case No. 21-cv-02028-KRN

JOHN MEGGS

       Plaintiff,

v.

WELCH 3 INVESTMENTS, LLC and
WELCH 3 HOLDINGS, INC.

       Defendants.


                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


     Plaintiff, JOHN MEGGS, (“Plaintiff”), and Defendants, WELCH 3 INVESTMENTS,

LLC and WELCH 3 HOLDINGS, INC., (“Defendants”), by and through undersigned

counsel, and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby

STIPULATE AND AGREE that this matter has been settled and to the immediate

dismissal of this action with prejudice, with each party to bear its own attorney’s fees

and costs except as indicated in the settlement agreement.

STIPULATED AND AGREED by Counsel for the Parties on the dates below written.

Respectfully submitted on November 30, 2021.

/s/ Anthony J. Perez                         /s/ Laura J. Hazen
ANTHONY J. PEREZ, ESQ.                       LAURA J. HAZEN, ESQ.
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Attorney for Plaintiff                       Attorney for Defendants
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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

the Court's electronic filing system upon all parties of record on November 30, 2021.


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                                                By: ___/s/_Anthony J. Perez________
                                                      ANTHONY J. PEREZ




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